Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 1 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 2 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 3 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 4 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 5 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 6 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 7 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 8 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                          Document     Page 9 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 10 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 11 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 12 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 13 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 14 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 15 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 16 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 17 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 18 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 19 of 20
Case 14-36892   Doc 1   Filed 10/10/14 Entered 10/10/14 16:10:01   Desc Main
                         Document     Page 20 of 20
